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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :      Case No:
                                              :
               v.                             :
                                              :      VIOLATIONS:
                                              :
WILMAR JEOVANNY                               :      18 U.S.C. § 1752(a)(1), (2), and (4)
MONTANO ALVARADO,                             :      (Restricted building or grounds)
                                              :
               Defendant.                     :      40 U.S.C. § 5104(e)(2)(D), (E), and (F)
                                              :      (Violent entry or disorderly conduct)
                                              :
                                              :      18 U.S.C. § 231(a)(3)
                                              :      (Civil disorders)
                                              :
                                              :      18 U.S.C. § 111(a)(1)
                                              :      (Assaulting, resisting, or impeding certain
                                              :      officers or employees)
                                              :
                                              :      18 U.S.C. § 1512(c)(2)
                                              :      (Obstruction of an official proceeding)


                           AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR AN ARREST WARRANT

       I, David M. DeFilippis, being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND BACKGROUND

       1.      I make this affidavit in support of an application for an arrest warrant for Wilmar

Jeovanny Montano Alvarado.

       2.      I am a Special Agent of the Federal Bureau of Investigation (“FBI”). I am currently

assigned to a squad that investigates public corruption and fraud against the government. As a

Special Agent, I am authorized by law or by a Government agency to engage in or supervise the

prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.
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       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement officers and witnesses. This

affidavit is intended to show merely that there is sufficient probable cause for the requested warrant

and does not set forth all of my knowledge about this matter.

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.



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       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                      PROBABLE CAUSE

       10.     The FBI Washington Field Office published multiple Seeking Information posters

with photographs of individuals that were participants in the riot at the U.S. Capitol Building on

January 6, 2021.

       11.     On January 8, 2021, the individual pictured within the FBI Seeking Information

poster, specifically photograph #65-AFO (Exhibit A), was interviewed by Fox 26 Houston

television news reporter Ivory Hecker, and identified as Wilmar Montano, a participant in the riots



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at the U.S. Capitol. I reviewed this video and noted that reporter Hecker stated that she was talking

to Montano on a Zoom call before he boarded his flight back to Houston (Exhibit B).

                                             Exhibit A




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                                            Exhibit B




        12.      In statements made to Fox 26 Houston, Montano admitted that he flew from

Houston to the U.S. Capitol to participate in the January 6, 2021 “protests” because he believed

election fraud may have compromised his vote. Montano told the reporter that he was at the edge

of the Capitol Building barricade during the January 6, 2021 “protests” when individuals pushed

past it, so he joined them. Montano additionally told the reporter that he climbed the Capitol steps

and claimed he was pushed towards the door, finding himself “close to the cop… with my hands

up.” Montano said that he told the officers, “I’m not part of this. I’m trying to get out.” Montano

also reported that he ended up being hit in the head by a speaker that was thrown in the crowd

which caused him to bleed. Montano told the reporter that he was glad he “protested” and did not

regret it.

        13.      On January 14, 2021, Montano called into the FBI Houston Division, identified

himself by name, and voluntarily confirmed to an Agent that he was the individual pictured in the

aforementioned FBI Seeking Information poster, photo #65. Montano told the Agent that he


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traveled to Washington, D.C. for the Trump rally by himself and did not assault any Federal

Officers. Montano also maintained that he never went inside the U.S. Capitol Building, but rather

stood on the balcony waving an American flag.

       14.     The FBI also obtained a YouTube video posted on January 7, 2021, by “Status

Coup” titled “UNBELIEVABLE Footage / Trump Supporters Battle Cops Inside the Capitol.” I

reviewed this video, and, based on my experience of reviewing similar videos of the Capitol

Building breach on January 6, 2021, I know that this video footage was taken in and around the

U.S. Capitol Building. I confirmed with the U.S. Capitol Police that this footage was of the lower

West Terrace of the Capitol Building. Throughout the video, Montano is seen wearing a brown

jacket with gray hood, a U.S. flag neck gaiter, and a red, white and blue hat, bearing “TRUMP” in

white lettering. Based on my knowledge of the investigation, and review of this video, I know that

the United States Capitol was on lockdown and that Montano’s presence inside was without lawful

authority.

       15.     Contrary to Montano’s statements to the press and in his voluntary FBI interview,

the YouTube video shows that Montano participated in efforts by rioters to violently battle their

way through a line of police officers guarding the West Terrace entrance to the Capitol Building.

Specifically, based on my review, I noted the following at the approximate video timestamps:

       2:35 – Montano is visible standing in the crowd on the steps near the lower West Terrace
       entrance, standing still and does not appear to be swept away by the moving crowds;

       5:10 – Rioters stacked up inside the lower West Terrace entrance, using shields taken from
       law enforcement officers, begin pushing in concert against the police line being maintained
       by Washington, D.C. Metropolitan Police Department (MPD) officers;

       5:55 – Montano’s left hand is visible, extends forward over shoulders of rioters, withdraws,
       and closes into a fist with his wrist facing upward;

       5:58 – Montano’s right hand moves with fingers extended, then the screen is clouded by
       some sort of liquid, believed to be OC spray administered by MPD Officers, causing
       Montano to turn away;

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6:11 – Montano wipes the top of his tasseled hat with cloth or Kleenex then throws it in
the direction of the Officers (Exhibit C);

                                   Exhibit C




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6:23 – Montano then turns and pushes forward toward the police line, ending up in the
front row of rioters (Exhibit D);

                                  Exhibit D




6:35 - An MPD Officer hanging from the ceiling uses his baton to poke Montano twice on
the left shoulder, and Montano loses his hat then backs up while MPD Officers advance;

7:42 – Montano extends his right arm toward the police line and appears to be pushing
forward again with other rioters, ending up facing the middle of the police line;




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       8:52 - Montano is visible in approximately the same spot with his right hand on the shield
       of an MPD Officer (Exhibit E);

                                           Exhibit E




       8:54 – Montano appears to get hit in the back of his head with something from the crowd
       behind him, then grabs the top of his head with his left hand while easily making his way
       out of the crowd;

       9:07 – Montano lifts his hand from his head and looks at what appears to blood on his hand
       (this image is consistent with the FBI Seeking Information poster photograph #65-AFO,
       Exhibit A);

       9:10 – Montano says, “Hey, who threw that speaker?” then disappears from view.

                               CONCLUSIONS OF AFFIANT

       16.    Based on the foregoing, your affiant submits that there is probable cause to believe

that Wilmar Jeovanny Montano Alvarado violated 18 U.S.C. § 1752(a)(1), (2), and (4), which,

in relevant part, makes it a crime to (1) knowingly enter or remain in any restricted building or

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grounds without lawful authority to do; (2) knowingly, and with intent to impede or disrupt the

orderly conduct of Government business or official functions, engage in disorderly or disruptive

conduct in, or within such proximity to, any restricted building or grounds when, or so that, such

conduct, in fact, impedes or disrupts the orderly conduct of Government business or official

functions; or (4) knowingly engage in any act of physical violence against any person or property

in any restricted building or grounds; or attempts or conspires to do so. For purposes of Section

1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted

area of a building or grounds where the President or other person protected by the Secret Service,

including the Vice President, is or will be temporarily visiting; or any building or grounds so

restricted in conjunction with an event designated as a special event of national significance.

       17.     Your affiant submits there is also probable cause to believe that Wilmar Jeovanny

Montano Alvarado violated 40 U.S.C. § 5104(e)(2)(D), (E), and (F), which, in relevant part,

makes it a crime to willfully and knowingly (D) utter loud, threatening, or abusive language, or

engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol

Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress

or either House of Congress, or the orderly conduct in that building of a hearing before, or any

deliberations of, a committee of Congress or either House of Congress; (E) obstruct, or impede

passage through or within, the Grounds or any of the Capitol Buildings; or (F) engage in an act of

physical violence in the Grounds or any of the Capitol Buildings.

       18.     Your affiant submits there is probable cause to believe that Wilmar Jeovanny

Montano Alvarado violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt

to commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

lawfully engaged in the lawful performance of his official duties incident to and during the



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commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federally protected function. For purposes of Section 231 of Title 18, a

federally protected function means any function, operation, or action carried out, under the laws

of the United States, by any department, agency, or instrumentality of the United States or by an

officer or employee thereof. This includes the Joint Session of Congress where the Senate and

House count Electoral College votes.

       19.     Your affiant submits there is probable cause to believe that Wilmar Jeovanny

Montano Alvarado violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault,

resist, oppose, impede, intimidate, or interfere with any officer or employee of the United States

or any agency in any branch of the United States Government, or any person assisting such an

officer or employee in the performance of such duties or on account of that assistance, while

engaged in or on account of the performance of official duties. For purposes of Section 111 of

Title 18, persons “assisting” federal officers or employees include the MPD Officers who were

assisting U.S. Capitol Police and other federal law enforcement officers in responding to the events

of January 6, 2021.

       20.     Finally, your affiant submits there is probable cause to believe that Wilmar

Jeovanny Montano Alvarado violated 18 U.S.C. § 1512(c)(2) and (2), which make it a crime




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